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~A0245D
                                                                #1277
             (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet I



                                     UNITED STATES DISTRICT COURT                                                           l7t:tfo
                                                          Southern District of Illinois                        CL~F? JAN 3 0 200fJ
                                                                                                            Sou., k. u S                 'J
                                                                                                                  H~F?N' ,DIS.,
         UNITED STATES OF AMERICA                                        Judgment in a Criminal Case                l3EN~S"Rlc~/crCOu
                             v.                                                       .            .           .         ON 0    Of: IL Rr
                                                                         (For RevocatIOn of ProbatIOn or Supervised Release) Ff:ICE LINOIS
                  David Joe Graves

                                                                         Case No. 4:02CR40078-003-JPG
                                                                         USM No. 05800-025
                                                                           Judith A. Kuenneke, AFPD
                                                                                                  Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           as alleged below                  of the term of supervision.
D   was found in violation of condition(s)            _ _ _ _ _ _ _ _ _ _ after denial of guilt.

The defendant is adjudicated guilty of these violations:


Violation Number             Nature of Violation                                                               Violation Ended
Statutory                         The defendant illegally possessed cocaine                                    10/03/2006



Statutory                         The defendant committed the offense of DUI                                   10/25/2008



       The defendant is sentenced as provided in pages 2 through             3        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes III
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 5970                       01/22/2009

Defendant's Year of Birth:          1982

City and State of Defendant's Residence:
McLeansboro, IL
                                                                                 il Gilbert                         ,. Dis,trfpt1U....
                                                                                                                                   'd-=g_e    _




                                                                           ~
                                                                                                 ~am.e and Title of Judge

                                                                                  .1"', ~;t'
                                                                           - - / Date
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DEFENDANT: David Joe Graves
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                                                     ADDITIONAL VIOLATIONS

                                                                                                           Violation
Violation Number              Nature of Violation                                                          Concluded
Standard # 2                  The defendant failed to submit written reports timely                        04/30/2006



Standard # 7                  The defendant used alcohol to the excess                                     10/25/2008
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 AO 245D                                                            #1279
                (Rev, 12/07) Judgment in a Criminal Case for Revocations
                Sheet 2- Imprisonment

                                                                                                    Judgment -   Page   3   of    3
 DEFENDANT: David Joe Graves
 CASE NUMBER: 4:02CR40078-003-JPG


                                                                    IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 total term of :
4 months




      o The court makes the following recommendations to the Bureau of Prisons:



      o    The defendant is remanded to the custody of the United States Marshal.

      o    The defendant shall surrender to the United States Marshal for this district:
           o     at    _________ 0                         a.m.      o     p.m.    on
           o     as notified by the United States Marshal.

      o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           o     before 2 p.m. on
           o     as notified by the United States Marshal.
           o     as notified by the Probation or Pretrial Services Office.

                                                                           RETURN

 I have executed this judgment as follows:




          Defendant delivered on                                                        to

 at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL


                                                                                  By
                                                                                             DEPUTY UNITED STATES MARSHAL
